         Case
       Case    3:23-cv-00782-YY Document
            2:16-md-02740-JTM-MBN        6-499887
                                   Document    FiledFiled
                                                     05/22/23    Page
                                                          04/07/20    1 of17of 7
                                                                   Page




                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                         )   MDL No. 16-2740
PRODUCTS LIABILITY                                  )
LITIGATION                                          )   SECTION: “H” (5)
                                                    )
This document relates to:                           )
June Phillips, No. 16-15397                         )


                                 ORDER AND REASONS

         Before the Court is a Motion for Summary Judgment on Warnings
Causation (Doc. 9299). The Court held oral argument on the Motion on March
11, 2020. For the following reasons, the Motion is GRANTED.


                                       BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical          companies      that    manufactured   and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Plaintiffs allege
that the drug caused permanent alopecia—in other words, permanent hair
loss. Plaintiffs bring claims of failure to warn, negligent misrepresentation,
fraudulent misrepresentation, and more.
         In the instant Motion, Defendants argue that Plaintiff June Phillips
cannot establish the essential element of causation in her case. Defendants
therefore ask the Court to grant summary judgment in their favor.




1   Docetaxel is the generic version of Taxotere.
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-499887
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       04/07/20    2 of27of 7
                                                                Page




                                 LEGAL STANDARD

       Summary judgment is warranted where “there is no genuine dispute as
to any material fact and the movant is entitled to judgment as a matter of
law.” 2 A genuine issue of fact exists only “if the evidence is such that a
reasonable jury could return a verdict for the nonmoving party.” 3 When
considering a summary judgment motion, the Court must view the entire
record in the light most favorable to the non-moving party and indulge all
reasonable inferences in that party’s favor. 4


                               LAW AND ANALYSIS

       Defendants first argue that they had no duty to warn Plaintiff’s treating
physician, Dr. Scott Sonnier. Defendants aver that when Dr. Sonnier treated
Plaintiff in 2013, he knew of the risk of permanent hair loss associated with
Taxotere. Because Dr. Sonnier had knowledge of the risk, Defendants say they
were relieved of their duty to warn him. According to Defendants, Dr. Sonnier’s
practice at the time he treated Plaintiff Phillips was to discuss the risk of
permanent hair loss with his patients. Defendants further aver that Plaintiff
cannot show causation because Dr. Sonnier testified that even with the
knowledge he has today, he still believes that Phillips needed a Taxotere-
containing regimen—specifically, the “TCH” regimen. 5 Defendants note that
there is no evidence showing that Plaintiff inquired about other options.




2 FED. R. CIV. P. 56.
3 Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).
4 Crawford v. Formosa Plastics Corp., 234 F.3d 899, 902 (5th Cir. 2000).
5 The TCH regimen contains Taxotere, Carboplatin, and Herceptin.


                                             2
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-499887
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       04/07/20    3 of37of 7
                                                                Page



Lastly, Defendants emphasize that Dr. Sonnier testified that no other options
were suitable for treating Phillips’ aggressive cancer.
      In response, Plaintiff notes that Dr. Sonnier unequivocally testified that
the 2015 label change altered the disclosures he makes to his patients.
Specifically, he testified that he now tells patients that there can be permanent
hair loss from Taxotere. Based on this, Plaintiff argues that before the label
change Dr. Sonnier was not warning patients as Defendants suggest—
according to Plaintiff, Dr. Sonnier would not have warned patients based only
on lay reports of permanent alopecia. Instead, before the label change, Dr.
Sonnier gave patients only a warning about chemotherapy in general, and he
told them that their hair loss would likely be temporary.
      Plaintiff further disputes that Dr. Sonnier would have recommended
Taxotere to Plaintiff even knowing what he knows today. According to
Plaintiff, Dr. Sonnier could have recommended alternative treatments.
Plaintiff emphasizes that she would have changed her decision to take
Taxotere if she had been warned of its risk of permanent hair loss.
      Under Louisiana law, failure to warn claims involving prescription drugs
are subject to the learned intermediary doctrine. 6 Under the doctrine, the
manufacturer of a prescription drug “has no duty to warn the patient, but need
only warn the patient’s physician.” 7 In other words, a manufacturer’s duty
runs only to the physician—the learned intermediary. 8
      The Fifth Circuit has held that there is a two-prong test governing
inadequate warning claims under the Louisiana Products Liability Act (LPLA)
when the learned intermediary doctrine is applicable:


6 Grenier v. Med. Eng’g Corp., 99 F. Supp. 2d 759, 765 (W.D. La. 2000) (applying Louisiana
  law), aff’d, 243 F.3d 200 (5th Cir. 2001).
7 Willett v. Baxter Intern., Inc., 929 F.2d 1094, 1098 (5th Cir. 1991).
8 Grenier, 99 F. Supp. 2d at 766.


                                            3
      Case
    Case    3:23-cv-00782-YY Document
         2:16-md-02740-JTM-MBN        6-499887
                                Document    FiledFiled
                                                  05/22/23    Page
                                                       04/07/20    4 of47of 7
                                                                Page



             First, the plaintiff must show that the defendant failed
             to warn (or inadequately warned) the physician of a
             risk associated with the product that was not
             otherwise known to the physician. Second, the plaintiff
             must show that this failure to warn the physician was
             both a cause in fact and the proximate cause of the
             plaintiff’s injury. 9

Regarding the second prong, the law is well established that, to prove
causation, “the plaintiff must show that a proper warning would have changed
the decision of the treating physician, i.e. that but for the inadequate warning,
the treating physician would not have used or prescribed the product.” 10
      As the Court has discussed in prior rulings, the chemotherapy decision-
making process is unique. The Court must consider not only whether an
oncologist would have warned his or her patient of the risk of permanent
alopecia but also how patient choice then would have steered the conversation
and the ultimate prescribing decision.
      Defendants have pointed to sufficient evidence showing that Plaintiff
cannot establish causation. Dr. Sonnier testified that there were no adequate
alternative options for Plaintiff Phillips, who had an aggressive cancer. 11
Although Dr. Sonnier identified “AC followed by Taxol” and “TAC” as
alternative options to TCH, both of these alternative regimens include
Adriamycin, which “is a cardio toxic agent” that Dr. Sonnier “wanted to avoid
specifically in [Phillips’] case.” 12 He testified as follows:




9 Stahl v. Novartis Pharmaceuticals Corp., 283 F.3d 254, 265–66 (5th Cir. 2002) (internal
  citation omitted).
10 Willett, 929 F.2d at 1099. See also Pellegrin v. C.R. Bard, 2018 WL 3046570, at *4 (E.D.

  La. June 20, 2018).
11 Phillips had a HER2+ cancer.
12 Doc. 9299-5 (p. 35). (Doxorubicin is another name for Adriamycin.)


                                            4
  Case
Case    3:23-cv-00782-YY Document
     2:16-md-02740-JTM-MBN        6-499887
                            Document    FiledFiled
                                              05/22/23    Page
                                                   04/07/20    5 of57of 7
                                                            Page



        Q:        [I]n her situation, what       were   the   other
                  alternative treatments?

        A:        There’s a regimen called AC followed by Taxol.
                  A regimen called TAC: Taxotere, Adriamycin,
                  and Cyclophosphamide.

                  Then kind of getting to – so with her having
                  lymph node positive disease and there’s a high
                  risk of recurrence, you would tend to favor giving
                  the three active medications that we use for
                  adjuvant treatment.

                  Prior to this regimen of TCH, which had just
                  been approved, there was, generally, the three
                  were Cyclophosphamide, Taxotere, I should say
                  a taxane, which is Taxol or Taxotere, and
                  Adriamycin.

                  So just prior to the approval of TCH, there was
                  no regimen that did not contain an
                  anthracycline, which is a cardio toxic
                  medication. With the recent passage of the TCH
                  protocol, we avoided the anthracycline use.

        [. . .]

        Q:        At the time that you recommended Taxotere, if
                  Ms. Phillips had said, “Look, I don’t want to go
                  forward with the Taxotere regimen because,” if
                  you had known of the risk of permanent hair
                  loss, “I don’t want to go forward with that risk.
                  I’m willing to go forward with AC plus the
                  Taxol,” would you have allowed her to go
                  forward with that treatment as your patient?

        [. . .]

        A:        We would have a serious discussion about the
                  risk of cardiac toxicity. And I, I don’t know if I
                  included in my note here, but I’m fairly certain
                  – again, I kind of remember some cases at that

                                       5
       Case
     Case    3:23-cv-00782-YY Document
          2:16-md-02740-JTM-MBN        6-499887
                                 Document    FiledFiled
                                                   05/22/23    Page
                                                        04/07/20    6 of67of 7
                                                                 Page



                     initial conversation. And part of the discussion
                     was the alternative of anthracycline-based
                     therapies, and the serious concern we had about
                     the cardiac toxicity. 13

Dr. Sonnier testified that cardio toxicities are increased in a person over the
age of 65, and Phillips was 75 at the time of her treatment. 14 Dr. Sonnier
further testified that Phillips had a preexisting cardiac condition known as
paroxysmal atrial tachycardia. 15 This condition “would have been more of a
caution,” and this is part of the reason he recommended TCH for Phillips. 16
       When asked if the client makes the ultimate decision about which
chemotherapy regimen to use, Dr. Sonnier responded as follows: “I wouldn’t
say that. Because had [Phillips] come in and said, ‘I want Adriamycin as my
regimen,’ I would say, ‘I think that’s a very risky proposal,’ and that I would
not give it.” 17 Indeed, in the guidelines issued by the National Comprehensive
Cancer Network (“NCCN”) in 2013, the TCH regimen is described as a
“preferred regimen, especially in those with risk factors for cardiac toxicity.” 18
Dr. Sonnier testified that he followed the NCCN guidelines. 19
       Considering this evidence, Defendants have demonstrated that even
with an adequate warning from Sanofi, Plaintiff and Dr. Sonnier would have
decided on a Taxotere regimen to treat her cancer. Plaintiff has failed to rebut
this. Plaintiff has pointed to no evidence suggesting that she would have looked
for another oncologist. Indeed, the evidence suggests that she never inquired
about other options but instead trusted Dr. Sonnier and heeded his advice.


13 Id. (p. 36–37).
14 Id. (p. 65).
15 Id. (p. 65–66).
16 Id. (p. 66).
17 Id. (p. 98).
18 Doc. 9229-8.
19 Doc. 9299-5 (p. 13–14).


                                         6
     Case
   Case    3:23-cv-00782-YY Document
        2:16-md-02740-JTM-MBN        6-499887
                               Document    FiledFiled
                                                 05/22/23    Page
                                                      04/07/20    7 of77of 7
                                                               Page




                               CONCLUSION

     Accordingly, for the foregoing reasons, the Motion for Summary
Judgment on Warnings Causation (Doc. 9299) is GRANTED.


     New Orleans, Louisiana this 7th day of April, 2020.




                                       JANE TRICHE MILAZZO
                                       UNITED STATES DISTRICT JUDGE




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